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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DISTRlCT OF FLOR|DA
N|lANll DlVlSlON

|n re: CASE NO.: 13-30331~AJC
N|COLAS A. J|MENEZ CHAPTER 13
XXX-XX-7509

Debtor(s)

l

 

NlOTlON TO ALLOW DE_BTOR TO ENTER lNTO A LOAN MOD|F|CAT|ON
AGREEN|ENT WlTH OCWEN LOAN SERV|C|NG. l=l__§

CONlES NOW, the debtor(s), Nicolas A. Jimenez, by and through the undersigned
counse|, and moves this Honorab|e Court for an Order Granting Debtor’s l\/lotion for
Permission to Enter into a l\/lodification Agreementwith chen Loan Servicing, LLC and as

grounds therefore Would show:

1. Debtor(s) filed a voluntary petition for bankruptcy under Chapter 13 on
August 27, 20“|3.

2. chen Loan Servicing, LLC, secured creditor maintains a security interest
in debtor’s real property located at: 9055 W. 168"‘ Terrace, lVliami Lakes,

FL 33018, legally ClGSCi‘lbeCl 88 G§NE£S§S C)AK GARDENS, ¥3¥3155»56 T»19333,
LC)'l" 24 EB|,~K 2. l..OT SlZE§ ?23'§0 SQ FT M/!u, FAU 30"2016-000~0{)10, F/AIU 30~

2(}16~0{}3»0730, C}R 26973»2584 (}'l 03 1, CGC 25243»3607 12 2006 5 Of the public
records of Miami-Dade County, Florida.

3. Debtor has requested a loan modification agreement With chen Loan
Servicing, LLC. _

4. The general terms of the loan modification are attached to the subject motion

(see Exhibit “A").

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5. Time is of the essence, as OcWen Loan Servicing, LLC has stated that the
loan modification could be denied if the order granting said motion is not

granted as soon as possible

6. chen Loan Servicing, Ll_C., has requested an Order Allowing Debtor to

enter into a Loan l\/lodification Agreement..
WHEREFORE, the debtors, Nicolas Jimenez, respectfully requests this Court enter
an Order Granting Debtor’s Motion to A|low Debtors to Enter into a Loan Modification

Agreement With chen Loan Servicing, LLC.

_ | Hereby Certify that l am admitted to the Bar of the United States District Court for the Southern
District Court for the Southern District of F|orida and | am in compliance with the additional qualifications to
practice in the Court set forth in Loca| Ru|e 2090-1 (A).

Respectfu||y submitted,

Law Offices of Patrick L Cordero, Esq.
Attorney for Debtor

198 NVV 37th Avenue

lVliami, F|orida 33125

Te|: (305) 445-4855

fsf (FlLED Cl\fl/ECF)
PATR|CK L. CORDERO, ESQ.
FL Bar No. 801992

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WWW.OCWEN_COM West Palm Beach, FL 33409

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10/9{2014

Nlco|as A limenez

4182 S W 74 Ct Law Office Of La Ley Con john Ru|z
Miarnl, FL 33155

Loan Numberi 7195869081
Property Address: 9055168thTer, Hia|eah, FL 33018

l)ear Nli:o|as A Jimenez

Congratulationsl Your request for a loaninodificatlon has bean approved subject to the following:

~Receipt of ali 'i"rial Period Plan Payments by the required due dates

»'Recelpt of the signed and (lf applicab|e) notarized and/or witnessed loan modification agreementand any attachments
-Receipt of ciear titlel if applicable

i~|igh|irrhts of the enclosed Loan lviodification Agreement and instructions for completing and returning it are as follows:

n The beginning Interest rate ls 4.52500%. if you are approved for a step rate modificationl the adjustment terms are listed in

the lvlodlflcation Agreement.

¢ This modification may incorporate principal deferment of $21,558.32 that will result in a principal payment that will be due
when the term ofyour loan expires 1'0/'1/2054 (Maturity Date).

~ The first modified payment begins 11/1/2014. To accept this offer you may return the modification agreement along with
payment of $2,696.45, which will be applied towards you r first payment after the modification executes.

¢ Mod|fiecl Payment Arriount
Principai end lnterest: S1,915.64

Escrow : 5 780.31
Total Payment : 52,696.45

if executing an ink signature (paper}, enclosed are multiple copies of the Nlodif|cation Agreement; please retain one copy

for your records and return all other original N|odification Agrecinents. The signed Nlodificatlon Agreement must be
received in our office on or before 10/23!2014.

lf the i\/lodification Agreements have notary provisions at the end, do NOT sign the enclosed Loan |\/lotlification Agreements
unless you are in the presence of a notary. These documents must be signed in the presence of a notary and (if applicable)
other witnesses and the original must be returned to our office. All of the documents must be executed by all parties included

in the document and the signatures must be exactly as the names are typed. |fyou do not send the Niodiflcation Agreements
by the above due date, you must contact us if you still wish to have your loan modified.

7195859081 STHEAMthEvZOF'~ZS-ZUJ-<i__
This comrriunication is from a debt collector attempting to coilect a debt; any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property. lt is not intended as an
attempt to collect a debtfrom you personally

Pap,e 1 _ NML$#!ESZ

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l """""""""""" §" OCWEn Loan S@N|cln& ]_]__C 1551 WOl'tl`ili'lgtDl'i ROBCl, gte .'l.UO

i©i WWW_OCWEN_CGM West Pa|m Beach, FL 33409
l i

'OCWEN Heiping Homeowners is Wi'rcit We Doi "“ T°" plea mem 745"2936

 

~ Any delays in receipt ofTrial Period Plan payments, if applicable may have increased the delinquent interest being capitalizedJ
which would have impacted ali the balances calculated within the proposed modificationl

¢ if any modification closing costs are more than projected, the difference will be assessed to the accountl

~ A|| miscellaneous fees and costs - excluding late charges "- may not have been included in the loan modification and will
remain outstandingr which may include title and recording costs when applicab|e.

We are required to report factual information to the credit reporting agencies Upon completion of the modification, when we

next report your loan to the credit agencies, we will report your loan as modified. if you fail to successfully complete the
modification and your loan is not permanently modified, accurate reporting will continue including any adverse reportingl

~ For loans with mortgage lnsurance, the mortgage insurance premium may be subject to change following permanent
modificationl Any change would be proportionate to the modified loan amount, including any deferred balance, and would be
reflected in a future escrow analysis following permanent modification

v Tax Consequences of a Loan Modiflcation: Your acceptance of a Loan |V|od|flcation may result in federal, state, or local tax
consequences to you and/or affect your eligibility for any public assistance benefits. We cannot advise you on these impacts
and encourage you to contact o tax professional to discuss any questions you may hove.

v it is expressly understood and agreed that the Borrower is responsible for ali of his/her attorneys' fees and costs in any

foreclosure action that may be currently pending and subsequently dismissed asa result of this Agree`ment and that no claim
therefore shall be subsequently made against chen Loan Servli:|ng, i.LC.

Piease notes A|| terms of the modification (inciuding any adlustments if you are approved for a step rate modification) are
detailed in the Modldcationiigreement. Please reviewthe lylodification Agreementln its entirety prior to signingl

The signed loan modification documents must be received in our office on or before 10/23/2014. Please return to:

 

Fax or Emaii - for fosrest processing or Regu|ar i\riail
chen Loan Servicing, LLC
Fa><: 407-737-5693 Attn: i-iome Retention Dapartment
Emai|: inocl@ocwen.com 1661 Worthington Road, Suite 100

West Paim Beach, F|orida 33409

if the iviodification Agreements have notary provisions at the end, you must return the signed original agreements to our mai|in

d
address above.

7195369081 STREAMLiNEVZD?~ZS-ZDM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
|~|owever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personally

Page 2 NMLS#IBS.?

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Or:vven Loan Servicing, l_LC 1661 Worthington Road, Ste 100
l WWW,OCWEN_COM West Pa|m Beach, FL 33409
LOWENf l-iei,olng Homeowners is ill/hat We Doi "‘ TU" Fre‘”": wool 746'2935

 

IMPORTANTI The loan modification Wil| not be complete until We receive all properly executed documents. if the modification is

not completed we vvi|l continue to eniorce our iien. ii the conditions outlined above are not satisfied the modification will be
witi“ldrawn.

if you have any ouestions, please contact us at (SOU) 746-2936, We are available ivlondoy to Friday B:OO am to 9:00 pm, Saturciay
8.'00 am to 5100 pm or Sunday 9:00 ant to 9:00 pin ET.

Notlce Rega.l’ciing Bartkruptcy.‘ Pleose be advised that if you are port of an active Bonl<ruptcy case or if you have received an
Order of i?ischarge from o Bonl<ruptcy Court, this letter is in no way an attempt to collect either a pre-petition, post-petition or
discharged debt. if your bankruptcy case is still octive, no action Wlil be token in Willful violation of the Automotic Stuy. if you have
received on Orcler of Discharge in o Chapter 7 case, any action taken by us is for the sole purpose of protecting our lien interest in
the underlying mortgaged property and is not on attempt to recover any amounts from you personally Finally, if you are in an

active Chapter 11, 12 or 13 bankruptcy case and on Ora‘er for Rcilef from tire Automotic $tay has not been issued, you should
continue to make payments in accordance with your plan.

7195859081 STREAMthEv.?O?-H'ZOM
This communication is from a debt collector attempting to collect a debt; any information obtained will i;)e used for that purpose
i-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only With regard to our secured lien on the above referenced property it is not intended as an
attempt to collect a debt from you personallyl

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chen Loan $ervicing, LLC 1651 worthington noad, ste too
WWW.OCWEN`COh/l West Pa|m Beach, FL 33409
Helplng Homeo wn crs is ifr/hot We Dol "“' TO|' Fi@e! lBOOl 746~2936

 

investor Loan ii

After Recording Return To:
chen Loan 5ervicing, Ll_C

Attn: iviodification Processing
PO Bo)< 24737

West Palrn Beach, FL 33416»9838

 

[Space Abova This Line For Recording Data]

 

Nou-HAMP Lor\N Moolrlcnnon AcnselviENT

Loan Modification Agreernent {”Agreement”) made this 10,/9/201¢ between rlico|as'A ilrnenez
StarvicingJ LLC Lender/Servicer or Agent for Lenderl'$erv|cer l"Lender”}
("Note"} dated 12/9/2006 in the original principal sum of
iviortgage, Deed of Trust, or Deed to Secure Debt (the

property records of Miaml~i`.iade€ounty, Ft.

l"Elorrower”} and chen l.oan
amends and supplements that certain promissory note
5331,50{}.00 executed by Borrower. The Note is secured by a
”Security lnstrument”), dated the same date as the Note, in the real

'MERS' is iylortgage E|ectronic Registration Systems, |nc. NiERS is a separate corporation
Lender/Servicer or Agent for Lender/Sarvicer.
telephone number of 1901 E Voorhees Street,

that is acting solely as a nominee for
MERS is organized and existing under the laws of DaiawareJ and has an address end

SLllte C, Darivl|le, |L61l334 or P.O. BOX 2026 F|ii‘it, |\ii| 43501-2026, (888) 679-NIF.RS.

SaId Security instrument covers the real and personal property described in such Securlty instrument (the “Property”) located at
9055 168th Ter |-iialeah, FL 3301& which real property is more particularly described as follows:

[Lega| Description Attached if Appiicai:ie for Recording Oniy]

Borrower acknowledges that "Lender" is the legal holder and the owner,
Note and Security instrument and further acknowledges that if r‘Lender”
transferee shall be the “Lender" as defined in this Agreement.

or agent/servicer forthe legal holder and owner, of the
transfers the Note, as amended by this Agreement, the

Borrower has requested, and tender has agreed, to extend or rearrange the time and manner of payment of the llc-te and to
extend and carry forward the iien[si on the Property whether or not created by the Security instrument

Now, therefore, in consideration of the mutual promises and agreements contained herein, and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged_, and intending to be legally bound, the parties
hereto agree as follows lnotwithstand|ng anything to the contrary contained in the |\|ote or Security instrument}:

1. Borrower_ acknowledges that as of the Effective Date, the amount payable under the Note and Security instrument (New
Principal Ba|ance} is $440,158.31

$21,55832 of the i\lew Princina| Balance shall be deferred lthe Deferred Principai Ba|nnco] and l will not pay interest or
make monthly payments on this amount. The New Principai Belance less the Deferred Prlncipal Ba|ance shall be referred to
as the interest Bearing Principai Baiance and this amount is $418,600.00.

Borrower agrees to pay in full the Deferred Principai Ba|ance and any other amounts still owed under the Note and
Securlty instrument by the earliest of; (i) the date Borrower sells or transfers an interest in the Property, {ii] the date
Borrower pays the entire interest Bearing Principal Baiance, or llii} the new Maturity Date.

2. The iviaturity Date is 10,’1/’2054.

7195359081 SY`HEAMLlNEVZU?»ZS~.?OM
This communication-is from a debt collector attempting to collect a debt; any information obtained will be used for that purp ose.
l~iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. lt is not intended as an
attempt to collect a debt from you personally

l’age 4 NML$#JB§Z

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i., OCWen Loan gewicmg} LLC 1661 Worthington Roed, Ste 100
§O WWW_OCWEN_CQM West Palrn Beach, FL 33409
§"5";‘;"§";, Helping Homeowners is Whot We Do! "" T°ll Free; wool 746`2935
3. Borrowei‘ hereby renews and extends such indebtedness and promises to pay jointly and severally to the order of Lender

the Princlpa| Balance, consisting of the amount(s)
capitalized to date as applicable
and 5ecurity instrument

loaned to Borrower by Lender and any accrued but unpaid interest
along with any other amounts that may come due under the terms of the original i\iote

4. interest will be charged on the unpaid, non-deferred, “New Principai Baiance” until the non-deferred principal has been
paid in fuil. Borrower promises to pay interest at the rate required at each interest Rate Change Date from li)r'l)‘2i}i4 until
i pay off my loan at the time wheel sell or transfer any interest in my home, refinance the ioan, or when the last scheduled
payment is due. The rate of interest l pay will change based upon the Payment Schedule below.

5. Borrower promises to make monthly principal and interest payments of $1,915.64, beginning on 11/1!2014, and
continuing thereafter on the same day of each succeeding month, according to the Payment SCheduie below until ali
principal and interest is paid in fu||. Payments will be made and delivered to 1661 Worthington Road, Ste 100, West Paim
Beach, FL 33409 or at such other place as Lender may require. The amounts indicated in this paragraph do not include any
required escrow payments for items such as hazard insurance or property taxes; if such escrow payments are redulred, the
monthly payments will be higher and may change as the amounts required for escrow items change.

 

 

Pr:\r:l;n;llll:nd Estlmated Nunnber
interest interest Rate ll_ ivionthiy Escrow Total lvlontl“ily Payment of
Years interest
Rate Change Date Pavment Payment Payment Begins On l\/ionthiy
*
Amuunt Amount Paymeni:s
1- s rao.as, $:lsi::c': 51
.li' " .
Maturitv ii £bOG% lU/l,lZUld 51,915 64 adjusts annually annually after 11/1/2014 480

after year 1 year l

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

if on 10/1/2054lthe "Maturity Date"}, Borrower still owes any amounts under the Note and Security instrumentl including
any "Daferred Principal Balance” as provided for in this Agreement, Borrower will pay these amounts in full on that date.

if “Lender” has not received the full amount of any monthly payment within the grace period provided for in the original
Note or as otherwise provided for by lawl Borrower will pay a late payment fee to “i_ender” in an amount calculated based
on the late charge percentage provided for in the original Note, or as otherwise provided for by iaw, and the monthly
payment required under this Agreernent, with a maximum as provided for in the Note, or otherwise provided by iaw.
Borrower will pay this late charge promptiy, but only once on each late paymentl The late charge is not in lieu of any other
remedy of i_ender, including any default remedy. Notwithstanding the foregoingl Lender cannot enforce the debt against
Borrower personally and Lonrler's only remedy upon default is to enforce th e lien on the property

8. lt is the intention of the parties that all liens and security interests described in the Securlty instrument are hereby renewed
and extended lif the iylaturity Date of the original Note has been changed) until the indebtedness evidenced by the Note and
this Agreement has been fully paid. Lender and Borrower acknowledge and agree that such renewa|, amendment,
modificationJ rearrangement or extension [if applicab|ei shall in no manner affect or impair the Note or liens and security
interests securing sarne, the purpose of this Agreemcnt being simply to modify, amend, rearrange, or extend iii applicab|ei
the time end the manner of payment of the l\iote and indebtedness evidenced thel'eby, and to carry forward ali liens and

security interests securing the Note, which are expressly acknowledged by Borrower to be valid and subsistingf and in full
force and effect so as to fully secure the payment of the Note.

9. if ali or any part of the Property or any interest in it is sold or transferred lor if Eiorrower is not a natural person and a

7195869081 STREAMLlNEv.?O?-.?S-.?UM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purp ose.
Hovvevar, if the debris in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. lt is not intended as an
attempt to collect a debt from you personally

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in OCWen |_Oan gewlclng: |_|_C 1651 WDi’iZl'ili'igtiJi'i RDBd, SlZE 100
;© WWW_OCWEN_COM West Pa|m Beach, FL 33409
'OGEN Hei,or'ng Horneowners is iri/hot We Doi "" T°" Free‘ wool 745'2936

 

beneficial interest in Borrower is sold or transferred) without Lender‘s prior written consent, Lender may, at its option,
require immediate payment in full of all sums secured by the Secur|ty instrument, However, this option shall not be
exercised by Lender if such exercise is prohibited by applicable law. if Lender exercises this option, Lender shail give
Borrower notice of acceleration The notice shell provide a period of not less than 30 days from the date the notice is
delivered or mailed within which Borrower must pay all sums secured by this Security instrument. if Borrower falls to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by the Security instrument
without further notice or demand on Borrower. For purposes of this paragraph, "interestin the Property" means any legal or
beneficial interest in the Proparty, inciuding, but not limited to, those beneficial interests transferred in a bond for deed,

contract for deed, installment sales contract or escrow agreement the intent of which is transfer of title by Borrower at a
future date to a purchaser.

10. ns amended hereby, the provisions of the Note and Security instrument shall continue in full force and effect, and the
Borrower acknowledges and reaffirms Borrower’s liability to Lender thereunder. in the event of any inconsistency between
this Agreement and the terms of the Note and Security |nstrument, this Agreement shall govern. Nothing in this Agreement
shall be understood or construed to be a satisfaction or release in whole or in part of the Note and Security instrumentl
Except as otherwise specifically provided in this Agreement, the Note and 5ecurity instrument will remain unchanged, and
Borrower and tender will be bound by, and comply with, all of the terms and provisions thereot, as amended by this
Agreement, including but not limited to, in the case of the Borrower, the obligation to pay items such as taxes, insurance
premiums or escrow items, as applicable. Any default by Borrower in the performance of its obligations herein contained

shall constitute a default under the Note and Security lnstrument, and shall allow Lender to exercise ali of its remedies set
forth in said Security instrument

11. Lender does not, by its execution of this ngreement, wa
Agreement may be executed in multiple counterparts,
shall constitute one and the same Agreement.

ive any rights lt may have against any person note party hereto. This
each of which shall constitute an original instrument, but a l| of which

12. Borrower agrees to execute such other and further documents as may be reasonably necessary to consummate the
transactions contemplated herein or to perfect the liens and security interests intended to secure the payment of the loan
evidenced by the Note. if an errorin the terms hereof is detected after execution of this Agraement, Borrower understands
that a corrected Agreement will be provided and this Agreement will be void upon notice of such error. Should Borrower
elect not to sign any such corrected Agreem ent, the loan will revert to the terms of the original i_oan Documents.

13. Borrower hereby absolutely and unconditionally assigns and transfers to Lender all leases of the Property and ali security
deposits made in connection Wlth leases of the Property. Upon this assignment Lender shall have the right to modify, extend

or terminate the existingl leases and to execute new leases, in Lender’s sole discretion. ns used in this paragrap|i, the word
'iease‘ shall mean 'subiease' if the Security instrument is on a leasehold estate.

Borrower hereby absolutely and unconditionally assigns and transfers to Lender all the rents and revenues [‘iients`i of the
Property, regardless of to whom tire Rents of the Property are payabie. Borrower authorizes Lender or Lender's agents to
collect the Rents, and agrees that each tenant of the Property shall pay the iients to Lender or Lender's agents i-iowever,
Borrower shall receive the Hents until iii Lender has given Borrower notice of default under this Agreement, pursuant to
Section 22 of the Security instrument and (iii Lender has given notice to the tenant[s) that the Rents are to be paid to Lender

or Lender's agentl `i`his assignment of Rents constitutes an absolute assignment and not an assignment for additional
security on|y.

if Lender gives notice of default to Borrower: iii ali iients received by Borrower shall be held by Borrower as trustee for the
benefit of i_ender on|y, to be applied to the sums secured by the Security instrument; iii) Lender shall be entitled to collect
and receive ali of the fients of the Property; {iii] Borrower agrees that each tenant of the Property shall pay ali Rents due and
unpaid to Lender or Lender’s agents upon Lender’s written demand to the tenant; [lv] unless applicable law provides
otherwise, all Rents collected by Lender or Lender's agents shall be applied first to the costs of taking control of and
managing the Property and collecting the Renls, includingl but not limited to, attorney’s fees, receiver's fees, premiums on
rocelver’s bonds, repair and maintenance costs, insurance premiums, taxes, assessments and other charges on the Property',

7195359081 STHEAMLlNEv£UF-,?S-.?Old___
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
i~iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personally

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chen Loan Sarvicing, LLC 1661 Worthington Road, ste too
WWW.OCWEN.COM West Pa|m Beach, FL 33409
Helplng Homeownars is Whor We Dol "“ T°" Fl” 961 lBOOl 745~2935

 

and then to the sums secured by the Security |nstrument; {v) LenderJ Lender's agents or any judicially appointed receiver
shall be liable to account for only those Rents actually received; and (vi} Lendersha|| be entitled to have a receiver appel ntecl

to take possession of and manage the Property and collect the Rents and profits derived from the Property without any
showing as to the inadequacy oi' the Property as security.

if the Rents of the Property are not sufficient to cover the costs of taking control of and managing the Property and or
collecting the Rents any runds expended by Lender for such purposes shall become indebtedness of Borrower to Lender
secured by the Securlty instrument pursuant to Saction 9 of the Security instrument

Borrower represents and warrants that Borrower has not executed any prior assignment of the Rents end has not
performed, and W|i| not perform, any actthatwould prevent Lenderfrom exercising its rights underthis paragraph.

l.ender, or l.ender’s agents or aludlcia|iy appointed receiver, shall not he required to enter upon, take control of or maintain
the Property before or after giving notice of default to Borrower. i~iowever, Lender, or Lender’s agents or a judicially
appointed receiver, may cio so at any time when a derauit occurs. Any application of Rents shall not cure or waive any

default or invalidate any other right or remedy of Lenderi This assignment of Rents of the Property shall terminate when all
the sums secured by the Security instrument are paid In full

EACH OF THE BORROWER{S) AND THE "LENDER” AG<NOWLEDGE THAT NO REPRESENTAT|DNS, AGREEMENTS OR PROM|SES
WERE MADE BY THE OTl-|ER PARTY OR ANY DF lTS REPRESENTAT|VES OTllER THAN THOSE REPRESENTAT]ONS, AG REEMENTS
OR PROM|SES SPEClF|CALLY CONTA|NED HERE|N. TH|S AGREEMENT, AND THE NOTE AND SECURiTY |NSTRUN|ENT lAS
AMENDED HERE BY) SETS FO RTH Tl'|ii ENl'lRE UNDERSTANDING BE'IWEEN THE PARTIES, THERE ARE NO UNWR|TTEN
AG REEMENTS BETWEEN THE PART|ES. |F APPL|CABLE, BORROWER ALSO AC|(NOWLEDGES `|'|'IE RECE|PT B¥ |NCLUS|ON IN TH|S
AGREEMENT, OF SPEC|FlC |NFCJRN|AT|GN D|SCLOSING THE FUNCi”lON OF A EALLOON PAYMENT.

7195869031 STREAML!N£'v.?Q?-ZB-ZUM
This communication ls from a debt collector attempting to collect a debt; any information obtained will be used for that purp ose.
Hovvever, if the debt is in active bankruptcy or has been discharged through bankru ptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personallyl

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il Oi:vyen Loan Servlcing, LLC 1661 Worthington Roecl, Ste 100
l WWW,OCWEN,CGM West Pa|m Beach, FL 33409

O¢WEN Helpr'ng Horneowners r's tht We Do.i ""‘ TD" Free: (BOC`) 745“2936

7195869081 $TREAMHNEV.ZOY-ZS~ZOJ<’F

 

This communication is from a debt collector attempting to collect a debt,' any information obtained will be used for that purpose.
|lowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for iniorl‘nationa| purposes Orily Wlth regard tO Oui‘ Secured lien on the above referenced property. lt is not intended as an
attempt to collect a debt from you p¢=:l'sone|iyl

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CaSe 13-3(?331-A.]C DOC 62 Filed 01/15/15 i»PaQe 11 Of 25

i" chen Loan gel-urging |_|_C 1661 Worthington Road, Ste 100
! 1 WWW_OCWEN,COM West Pa|rn Beach, Fl. 33409
'QGWEN Helping homeowners is Whot We Dol "" T°H Fme‘ wool 745`2935

 

El if this box is checked Borrower(s,l signature must be notarized

in Witness Whereof, the Servicer and | have executed this Agreement.

/
`;

Nlco|
State of FL ' \ -`
Countyof 077}% mt DA.M l

On £sz/,c /S[, ¢ s.D'U?/;zé' rbefore mi MAYZ/A é;' ' go LER personally appeared
)‘ ' '

d ` \- / 121-if /§'"_"E. t . who proved to me on the basis of satisfactory evidence to be
the person(s) whose name is subscribed to the within instrument and acknowledged before me that hey/she executed the

foregoing instrument in his/her authorized capacity, and that by hls;'her slgnaturels] on the instrument the person, or the entity
upon behalf of which t e person acted, executed the instrumentl

l certify under PENALT FPER.|URY under the laws of the State of Fi. that the foregoing paragraph is true and correct.

W|TNESS rnilhanc| .‘.icia ear `_ _l `_

, t°"`"”"‘s uncut aLaNA actor f
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ll f CJi f Z’,F>lf»rr Date

      
  

  
     
 

Slgnature ri l \
Printl\lame: Hl;(i¢iik¢@!* gd- o")t"i/" _
Commlsslon expiration date£f~/;/Q¢/ .QO` '7'

Persona||y |<nown OR Produce ida tiii etion `
Type of identification Produced ‘ c N¢f;; 32 ~Cp§'/ -»»~ UQB w "] @</- 0

{Sea|]

 

  
 

 

_~.»_.__m...m_ / / Date
State of FL ]

County of l

On _~_ before me, personally appeared

.who proved to me on the basis of satisfactory evidence to be
the person{s] whose name is subscribed to the within instrument and acknowledged before me that lie/she executed the
foregoing instrument in hisfher authorized capacity, and that by his/her signature[s) on the lnstru mont the person, or the entity
upon behalf of which the person acted, executed the instrument

l certify under PENALTY OF PERlURY under the laws of the State of FLthat the foregoing paragraph is true and correct

WlTNEBS my hand and official sea|. '

Signature ' lSeal)

Print Name:

Commisslon expiration date__/M/

 

 

 

Personally l<nown OR Produced identification
Type of identification Prod uced

*r-`\|| individuals on the title leven if not a borrower on the note) must sign this agreement. ll'there are more than two title

holders to this property, please have them sign below. if no other title holders exist, please leave page 4 blank end return lt
with the rest of the agreementl

7195369081 STREAMLINEVZO?~29~2OM
This communication is from a debt collector attempting to collect a debt,' any information obtained will be used for that purpose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personallyl

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chen Loan Servicing, Li_C 1661 Worthington Road, Ste 100
WWW.OCWEN_COM West Paim Beach, FL 33409
Help!ng Homeowners is Whot We Doi m T°H FVEE= lSOD) 745~2935

 

|l'i WlTH€SS WhErE€rl, the Servicer and i have executed this Agreernent.

 

l f Date
State of FL ]
County of _ _ jl
On before ma, p ersona|iy appeared

 

 

 

. who proved to me on the basis of satisfactory evidence to be the personisi
whose name is subscribed to the within instrument and acknowledged before me that hershe executed the foregoing instrument in his/her

authorized capacity, and that by his/her signature(s] on the instrument the personJ or the entity upon behalf of which the person acted, executed
the instrument

| certify under PENALTY OF FERIURY under the laws of the State of Fl. that the foregoing paragraph is true and correct WiTNESS my hand and
official seal.

Signature isea|]
Print Name:
Commlssion expiration date / /

 

Personai|y Known OR Produced identification
Type of identification Produced

 

__.c.._.__________._ _FF,___!_M,*_J’____H__ Date
State of FL )
County ofwm___%_______"i
On m before me, personally appeared

 

 

, who proved to me on the basis of satisfactory evidence to be the
personis) whose name is subscribed to the within instrument and acknowledged before me that lie/she executed theforegoing
instrument in his{her authorized capacity, and that by his;‘her slgnature(s) on the instrument the person, or the entity upon behalf
of which the person acted, executed the instru ment,

l certify under PENALTY GF PE RJURY under tile laws of the Etate of Fl. that the fore

going paragraph is true and correct W|i’Ni£SS my
hand and official seal.

Signature 7 {Seai)
Pi'ini Narne: _,H_c.,t.,..r,.m.._._.
Cor'nmlssion expiration date l /

 

Persona||y |<nown OR Produced identification ____
Type of identification F'rnduceri,_vw

 

 

Servicer BY

 

i_‘)ate

if applicabie:
|V|ortgage E|er:tronlc iiegistrat|on Systems, |nc. ~ Norninaa for Servical'

 

7195869081 STREAMLlNEvZO?--RS-Rtiffi
This communication is from a debt collector attempting to collect a debt,' any information obtained will be used for that purposel
|-iowever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personally

Page 10 NM\'.$#ISSZ

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lig chen Loan Servicing, LLC 1661 Warthington naad, Sr:e 100
l WWW.oCWEN.CoM West Palm aeach, FL 33409
inwa iia/ping Homeowners is What We Do! "" T°" FVEE: (Bool 746'2936

 

CAL|FORN|A ALL~PURPOSE
CERT|F|CATE OF AC|(NOWLEDG ENiEN'i`

State of Californla

County of

 

On before me,
{l-|ere insert name and title of the officer)

Persona||y appeared

r

Who proved to me on the basis of satisfactory evidence to be the person[s) Whose name(s) is/are subscribed to the With`rn
instrument and acknowledged to me that he/she!they executed the same |n his/her/thelr authorized capacity{ies), and that by

`hls/her/the|r slgnatureis) on the instrumentthe person(si, or the entity upon behalf oiwhlch the person[s) acted, executed this
instrumentl

l certify under PENALT‘{ OF PERJURY under the laws of the State of Ca|ifomia that the foregoing paragraph is true and correct.

WITNESS my hand and official sea|.

(thary Seal}

 

Signature of Notal"~,r Pub|lc

B‘,':

 

Date:

 

7195869081 STHEAMLlNEv2U?-29-2OJ4
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
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attempt to collect a debt Frorn you personallyl

Page 11 NMLS.\‘HBS.?

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l chen Loan Servlcing, LLC 1661 Worthington Ro.ad, ste 100
l WyyW,ocWEN,gor\/\ vyest Palm seach, rt 33409
5"'¢'";;,'";"','“ Hefping Homeowners is Wth We Doi m T°" FVEE: wool 746'2936

 

BORROWER ACKNOWLEDGN|ENT

State of |OWA
Cou nty of

 

This instrument was acknowledged before me on

 

 

 

 

 

Date
By
Name{sl of Person(s)
Signature of Notary Pub|ic
‘i'it|e (or Rank ior lyii|itary Personne!) ph
$tomp/Seol
7195869081

$'i`RE'AMLJ`NEt/ZO?~ZB~ZOM
This communication is from a debt collector attempting to co|iect a debt; any information obtained will be used ior that purp ose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

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Page 12 NMLS#MSZ

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i" chen Loan Servicing, LLC 1661 Worthington Road, Ste 100
WWW_OCWEN,COM West Pa|m Beach, Ft 33409
g OWE Helping Homeoyvners r's Whot We Doi "" T°" F"*e‘ isom 745"2936

 

UN|FORM FOR|V| CERT|F|CATE OF ACKNOWLEDGMENT
STATE OF NEW YORK ]

county or ;

On the day of in the year , before me, the undersignedf personally appeared
. personally known to me or proved to me on the basis of satisfactory evidence to be
the individual{s] whose nameis} is (are) subscribed to the within instrument and acknowledged to me that hefshefthey executed

the same in his/her/their capacity(iesi, and that by his/her/their signature(s) on the instrument, the individual[s), or the person on
behalf of which the individuai(si acted, executed the instrument

 

 

Notary Pub|ic

7195859031 STREAMUNEVZU?».?Q~Z’OM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purp ose.
llowever, if the debt is in active bankruptcy or has been discharged through bankruptcyl this communication is purely provided to
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Page 13 NML$#J.SSZ

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l """"""""""" " chan Loan Servicing, LLC 1661 Wortnington Road, ste soo
l y WWW.C)CWEN.CO|\A West Palm Beach, FL 33409
'OCWEN Heipr'ng Homeowners is iri/hot We Dol “" T°" F"E‘E; legal 745`2935

 

investor Loan ll

After Recording Return To:
chen Loan Servlcing, Li_C

Attn: Modlfication Processing

PO Box 24737

West Palm Beach, FL 33415~9833

 

[Space Above This L|ne For Recording Data]

----_--...»...__.

Non-HAMP Loan iviooiricATloN AcassrviENT

Loan l\/lodification Agreement (”Agreement”i made this lOf9/2014 between Nicoias A Jimenez l”Borrower”] and chen Loan
Serviclngl LLC Lender,i'$ervicer or Agent for Lender/Servicer ("Lender“'i amends and supplements that certain promissory note
[”Note“) dated 12/9/2006 in the original principal sum of $331,500.00 executed by Borrower. The Note ls secured by a
iviortgage, Deed of Trust, or Deed to Secure Debt (the r’Security lnstrument"i, dated the same date as the Note, in the real
property records of iv|ian'il~Dacle County, Fi..

'MERS' is iviortgage Eiectronic Registrat|on Systems, lnc. lviERS is a separate corporation that is acting solely as a nominee for
Lender/Servicer or Agent for Lendeereivicer. |viEitS is organized and existing under the laws of Delaware, and has an address and
telephone number of 1901 E Voorhees Streetr 5ulte Cy Danvllle, iL 61834 or P.D. Bo)c 2026 Filnt, i\ril 43501-2026, (SBB) 679»i\/|ER5.

Said Security instrument covers the real and personal property described in such Security instrument (the “Property"} located at
9055 16Bth Ter l-iia|eahr fL 33018J which real property is more particularly described as follows:

[Legal Descriptlon Attached if Appllcab|e for Recordlng Only)

Borrower acknowledges that "Lender“ is the legal holder and the owner, or agent/servicerfor the legal holder and owned of the

Note and Securlty instrument and further acknowledges that if ”i_endar" transfers the Note, as amended by this Agreement, the
transferee shall be the ”i.ender” as defined in this Agreement.

Borrower has requestedl and tender has agreed, to extend or rearrange the time and manner of payment of the Note and to
extend and carry forward the |lenisi on the Property whether or not created by the Ser.urity instrument

Now, therefore, in consideration of the mutual promises and agreements contained hereinJ and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledgedl and intending to be legally bound, the parties
hereto agree as follows lnotwithstandlng anything to the contrary contained in the Note or Security lnstrument):

1. Borrower acknowledges that as of the Effectlve Date, the amount payable under the Note and Se

curity instrument lNew
Prrnclpai salaried is $440,153.32.

521,558.32 of the New Princlpal Ba|ance shall be deferred lthe Deferred Princlpal Ba[anc:e] and | will not pay interest or
make monthly payments on this alriount. The New Principal Balance less the Doferred Principal Balance shall be referred to
as the interest dearing Principal Baiance and this amount is 5418,600.00.

Borrower agrees to pay in full the Deferred Principal Ba|ance and any other amounts still owed under the hiote and
Security instrument by the earliest of: [i] the date Borrower sells or transfers an interest in the Property, (iii the date
Borrower pays the entire interest Bearing Principal Balance, or lllii the new iviaturlty Date.

2. _The i\/iaturity Date is 10/1/2054.

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This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose
l-|owever, ii the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. lt is not intended as an
attempt to collect a debt from you personaliy.

Page 14 rvrvrtsirsasz

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l`°" [” chen Loan Seryiclng, i.LC 1651 Worthington noad, Ste 100
O| WWW,OCWEN,COM West Pa|m Beach, Fl_ 33409
55 w ama H€lping Homeowners is thrr We Doi "* T‘Jll FFEEH l309l 746-2936
3.

Borrower hereby renews and extends such indebtedness and promises to payiointly and severally to the order of Lender
the Principal Baiance, consisting of the amountisi loaned to Borrower by Lender and any accrued but unpaid interest

capitalized to date as applicable, along with any other amounts that may come due under the terms of the original l\lote
and Security instrument

4. interest will be charged on the unpaid, non~deferred, "hiew Princlpal Baiance" until the non~deferred principal has been
paid in fuli. Borrower promises to pay interest at the rate required at each interest Rate Change Date from lull/2014 until
l pay off my loan attire time when l sell or transfer any interest in my home, refinance the loan, or when the last scheduled
payment is duel The rate of interest | pay will change based upon the Payment$chedule below.

5. Borrower promises to make monthly principal and interest payments of $1,915.64, beginning on 11/1/2014, and
continuing thereafter on the same day of each succeeding month, according to the Payment Scheduie below until all
principal and interest is paid in fuii. Payrnents will be made and delivered to toti.'i Worthington Road, Ste 100, West Paim
EeachJ FL 33409 or at such other place as Lender may require The amounts indicated in this paragraph do not include any
required escrow payments for items such as hazard insurance or property taxes: if such escrow payments are required, the
monthly payments will be higher and may change as the amounts required for escrow items change

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pr:::m;?:lnd Estirnated Number

interest interest hate P i\/ionth|y Escrow Totai lyionthiy Payment of

tears interest
Rate Change Date Payment Payment Payment Begins On |yionthly
* .
Amount Amount Payments
1. tree
Matur.lw 4.62500% 10/1,/2[]14 $1,915.54 adjusts annually annually after 11/1/2014 480
after year 1
year 1
6. if on 1011/2054 ithe ”lyiaturity Date”iy Borrower still owes any amounts underthe Note and 5ecurity instrument including

any “Deferred Pr|ncipal Balance" as provided for in this Agreernent, Borrower will pay these amounts in full on that date.

if "Lender” has not received the lull amount of any monthly payment within the grace period provided for in the original
Note or as otherwise provided for by iaw, Borrower will pay a late payment fee to “i.ender" in an amount calculated based
on the late charge percentage provided for ln the original i\iote, or as otherwise provided for by iaw, and the monthly
payment required under this rigreement, with a maximum as provided for in the Note, or otherwise provided by iaw.
Borrower will pay this late charge p|'omptiy, but only once on each late payment. The late charge is not in lieu of any other
remedy of Lender, including any default re medy. Notwitlrstanding the foregoing Lender cannot enforce the debt against
Borrower personally and Lender’s only remedy upon default is to enforce the lien on the proparty.

8. lt is the intention of the parties that all liens and security interests described in the Security instrument are hereby renewed
and extended ilf the iviaturity Date of the original Note has been changed) until the indebtedness evidenced by the Note and
this Agreement has been fully paid. Lender and Borrower acknowledge and agree that such renewai, amendmentl
modification, rearrangement, or extension iii applicablei shall in no manner affect or impair the Note or liens and sec urity
interests securing same, the purpose of this Agreernent being simply to modifyr amend, rearrange, or extend (if applicabiei
the time and the manner of payment of the Nota and indebtedness evidenced thereby, and to carry forward all liens and

security interests securing the l\lote, which are expressly acknowledged by Borrower to be valid and subsisting, and in full
force and effect so as to fully secure the payment of the i\iote.

9. if all or any part of the Property or any interest in lt is sold or transferred ior if Borrower is not a natural person and a

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This communicatioh_is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose.
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i 'j. QCWEn Loan gemrcmgf LLC 1651 Wortnington noad,$te 100
!O§ WWW'OCWEN.COM WESE PaliTi BEBC|'|, FL 313-409
',;“;; ';;,"'g"p, Heip.ing Homeovvners is irvth We Dol '”"' l°" F"EE: {SOOJ 746`2936

 

beneficial interest in Borrower is sold or transferred) without Lender's prior written consent, Lender may, at
require immediate payment in full of ali sums secured by the 5ecur|ty instrument i-iowever,
exercised by Lender if such exercise is prohibited by applicable law.
Borrower notice of acceleration The notice shall provide a per
delivered or mailed within which Borrower must pay eli sums se
these sums prior to the expiration of this periodi Lender ma

its option,
this option shall not be
if Lender exercises this option, Lender shall give
lod of not less than 30 days from the date the notice is
cured by this 5ecurity instrument if Borrower fails to pay

y invoke any remedies permitted by the Security instrument
without further notice or demand on Borrower. For purposes of this paragraph, "interest in the F’roperty" means any legal or

beneficial interest in the Property, including, but not limited to, those beneficial interests transferred in a bond for deed,

contract for deed, installment sales contract or escrow agreement the intent of which is transfer of title by Borrower at a
future date to a purchasers

10. As` amended hereby, the provisions of the Note and Security instrument shall continue in full force and effect, and the
Borrower acknowledges and reaffirms Borrower's liability to Lender thereunder. in the event of any inconsistency between
this Agreement and the terms of the Note and Security instrument this Agreement shall govern. i\iothing in this agreement
shall be understood or construed to be a satisfaction or release in whole or in part of the Note and Security instrument
Except as otherwise specifically provided in this Agreernent, the Note and Security instrument will remain unchanged, and
Borrower end Lender will be bound by, and comply with, oil of the terms and provisions thereof, as amended by this
AgreementJ including but not limited to, in the case of the Borrower, the obligation to pay items such as taxes, insurance
premiums or escrow items, as applicable nny default by Borrower in the performance of its obligations herein contained

shall constitute a default under the Note and Security instrument and shall allow Lender to exercise all of its remedies set
forth in said security instrument

11. Lender does not, by its execution of this Agreement, waive an
Agreement may be executed in multiple counterparts,
shall constitute one and the same ngreement.

y rights it may have against any person not a party hereto This
each of which shall constitute an original instrument but ali of which

12, Borrower agrees to execute such other and further documents as ma

transactions contemplated herein or to perfect the liens and security interests intended to secure the payment of the loan
evidenced by the Note. if an error in the terms hereof is detected after execution of this Agreement, Borrower understands
that a corrected Agreement will be provided and this Agreement will be void upon notice of such error. Shouici Borrower
elect not to sign any such corrected Agreernent, the loan will revert to the terms of the original Loan Documents.

y be reasonably necessary to consummate the

13. Borrower hereby absolutely and unconditionally assigns and transfers to tender all leases of the Property and ail security
deposits made in connection with leases of the Property. Llpon this assignmentr Lender shall have the rightto modify, extend

or terminate the existing leases and to execute new ieases, in i_ender's sole discretion. As used in this paragraph, the word
*iease’ shall mean ‘subiease' if the Security instrument is on a leasehold estate.

Borrower hereby absolutely and unconditionally assigns and transfers to tender ali the rents and revenues (‘Rents‘) of the
Property, regardless of to whom the Rents of the Property are payablel Borrower authorizes Lender or i_ender’s agents to
collect the Rentsd and agrees that each tenant of the Property shall pay the hents to Lender or Lender's agentsl However,
borrower shall receive the Rents until [i) Lender has given Borrower notice of default under this Agreement, pursuant to
Section 22 of the Security lnstrument, and iii} Lender has given notice to the tenant[s] that the Rents are to be paid to Lender

or Lender's agent This assignment of hents constitutes an absolute assignment and not an assignment for additional
security oniy.

if Lender gives notice of default to Borrower: iii ali fients received by Borrower shall be held by Borrower as trustee for the
benefit of Lender on|y, to be applied to the sums secured by the Security instrument: iii) tender shall be entitled to coiiect
and receive ali of the itents of the Property; iiiii Borrower agrees that each tenant of the Property shall pay all hents due and
unpaid to Lender or Lender's agents upon Lender’s written demand to the tenant; iiv} unless applicable law provides
otherwise, ali Rents collected by Lender or Lender's agents shall be applied first to the costs of taking control of and
managing the Property and collecting the hentsy including, but not limited to, attorneys fees, receiver's fees, premiums on
receiver's bonds, repair and maintenance costsl insurance premiums, taxes, assessments and other charges on the Property,

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This communication is from a debt collector attempting to collect a debt,l any information obtained will be used for that purp ose.

iiowever, if the debt is in active bankruptcy or has been discharged through bankru ptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property, it is not intended as an
attempt to collect a debt from you personally

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l § chen Loan Senricing, LLC 1661 Wc)rtnington Road, Ste 100
l©i WWW,QCWEN_COM West Paim Beach, FL 33405
l l

ga ;;,' §§ Heip.ing Homeowners is Wbot We Do.i "`" T°H Free' (500) 745'2935

 

and then to the sums secured by the Security |nstrument; [v) Lender, Lender's agents or any judicially appointed receiver
shall be liable to account for only those Rents actually received; and ivi} Lendershali be entitled to have a receiver appointed
to take possession of and manage the Property and collect the Rents and profits derived from the Property without any
showing as to the inadequacy of the Property as secu rity.

if the Rants of the Property are not sufficient to cover the costs of taking control of' and managing the Property and of

collecting the Rents any funds expended by Lender for such purposes shall become indebtedness of Borrower to tender
secured by the Security instrument pursuant to Section 9 of the Security instrumentl

Borrower represents and warrants that Borrower has not executed any prior assignment of the Rents and has not
performed and will not perform, any act thatwouid prevent Lender from exercising its rights under this paragraph

Lender, or Lender's agents prejudicially appointed receiver, shall not be required to enter upon, take control of or maintain
the Property before or after giving notice of default to Borrower. However, Lender, or Lendar’s agents or a judicially
appointed receiver, may do so at any time when a default occurs. Any application of Rents shall not cure or waive any

default or invalidate any other right or remedy ot i.ender. This assignment of Rents of the Property shall terminate when all
the sums secured by the 5ecurity instrument are paid in iuii.

EACH OF THE BORROWER[S} AND 'l`l-|E ”LENDER" AC|(NOWLEDGE THAT NO REPRESENTAT|ONS, AGREEMEN`|`S OR PRGM|SES
WERE N|ADE BY THE OTHER PARTY OR /-\NY OF |TS REPRESENTAT|VES OTHER THAN THOSE REPRESENTAT|ONS, AGREEN|ENTS
DR PRO|\ll|SES SPEC|F|CALLY CONTA|NED HEHE|N. TH|S AGREEN|ENT, AND THE NOTE AND SECURiT¥ lNSTi`iUl'\flENT lAS
AlViENDED HEREBY] SETS FORTH THE ENT|RE UNDERSTAND|NG BETWEEN THE P/-\RT|ES. `l'l~lERE ARE ND UNWRETTEN
AG REEl\/|ENTS BETWEEN THE PART!ES. lF APPL|CABLE, BORROWER ALSO ACKNOWLEDGES THE RECE|PT BY lNCLLlS!ON lN Tl~llS
AG REENIENT, OF SPEC|FiC lNFORMATiON DlSCLOSlNG THE FUNC|‘|ON OF !»\ BALLOON PAYMENT.

7195869081 5TREAMUNE\.!XXX-XX-XXXX
This communication is irom a debt collector attempting to collect a debt; any information obtained will be used ior that purpose.
i~|owever, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you ror informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personally

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' in chen Loan Servicing, L|_C 1661 Worth|ngton Road, Ste 100

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OCWEN Heiping Horneo wrrers is Whot iri/c Dol ’M T”" FVEE* mm 745“2935
7195869{]81 STHEF\MLJ`NEVZO?-.?£)-ZUI‘¢

 

This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purp ose. l
t|owever, ill the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
attempt to collect a debt from you personally.

'Page 18 NM[S#.'{BS.?

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‘ chen Loan servicing LLc 1651 worthington easd, ste too
l WWW.OCWEN.COM West Pa|m BeachJ FL 33409
imch Hclpr‘ng Horneowncrs is Whot We Doi "“ T°H Free: wool 745`2936

 

l'.'.€l if this box is checked Borrower{s) signature must be notarized

in Witness Whereof, the Servlcer and l have executed this lagreement

 

ii ff»'»"'f f ZOl“'l Date
nicaiasa'ii'rdege /‘:"* `

State ofFL \ _ , ‘ )
Countyof fk E; Zl amf D//`Lt£e/_)
,iz zer a or ‘ " ~
Onl /fU "" Q:DO/ ‘P/)eforem , ,l£ll£fid'-(; §OL&:]€' ,personaliyappeared .
j'\r l?' Cl fla ' \:;l' f L/ . , who proved to me on the basis of satisfactory evidence to be

the person[s) whose name is subscribed to the within lnstrumentand acknowledged before me that hefshe executed the

foregoing instrument in his her authorized capacity, and that by his/her signaturels) on theinstrumentthe person, orthe entity
upon behalf of which the p rson acted, executed the instrument

 

 
  
    

         
 

        
 

 

 

l certify under PENALTY OF E_EUURY under the laws of the Stata of Fl. that the foregoing paragraph is true and correct
W|TNESS my hand ando is wl

SlB“E"-`L'"@ W.. 593|) wl U% MARIA ELENA SOLBR if

Print Name: rla l/ l /}t, c,_ ¢) 5 W m coumssionrrrsorsav

Comrnlssion expiration date Fgé,f Ql'-_¢/ &" QQ_P '

sess
Persona||y l<novvnww OR Pr duced identificat'onm_h _
Type of identification Producad 15 L~:# \_t.'i" m\j:£;,l .-»» {,v,,'l/ ,» 595 ~'“'7€9' /"”¢)

sxr=mas= Apnl 04, zant j;

 

 

---~__~.___...,.c..____ f / Data

 

 

State of FL ]
County of l
On __ __ before me, personally appeared

 

.Who proved to me on the basis of satisfactory evidence to be
the person(s) whose name is subscribed to the within instrument and acknowledged before me that hejshe executed the
foregoing instrument in his/her authorized capacity, and that by his/her slgnaturels) on the instrument the person, or the entity
upon behalf of which the person acted, executed the instrument

| certify under PENALT‘K OF PERIURY under the laws of the State of FL that the foregoing paragraph is true and correct.

WlTNESS my hand and official seal.

Signature Wmh_ m_ {Seal}

Print Name'.

Cornmission expiration date_j,___m;‘

 

 

Personally i<novvn OR Produced identification
Type of identification Procluced

l*‘A|| individuals on the title [even if not a borrower on the hotel must sign this agreement if there are more than two title

holders to this property, please have them sign below. if no other title holders exist, please leave page 4 blank and return it
with the rest of the agreement

71958|59081 STREAMLINEV207-29;20i¢l
This communication is from n debt collector attempting to collect a debt; any information obtained will be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankru ptcy, this communication is purely provided to
you for informational purposes only with regard to our secured lien on the above referenced property. it is not intended as an
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l chen Loan Servicing, LLC 1661 Wortnington Road, Ste too
§ www.ocwtn.coiu west rain seem rt sands
imch Haiping Horneowners is iri/hot We .Doi *M T°H P""'E: {BOD] 746"2936

 

in Witness Whereof, the Servicer and | have executed this Agreement.

_"m,____,___,w __m__/m/w Data

State of FL - l
Courity of

"__J

 

On before me, personally appeared
v who proved to me on the basis of satisfactory evidence to be the personisi
whose name is subscribed to the within instrument and acknowledged before me that hci/she executed the foregoing instrument in his/her

authorized capacity, and that by his/her signature(si on the instrument the person, ortho entity upon behalf of which the person acted, executed
the instrumentd

 

| certify under PENALTY OF PE RJURY under the laws of the State of Fl. that the foregoing paragraph is true and correct. W|TNESS my hand and
official seal.

Signature [Seali

Print Narne:
Cor'nmission expiration date f f

 

Persona|ly i<nown Gi'i Producecl identification
Type of identification Produceci

 

 

______s_~._______._%m_ W_H_,__/_ / Dnte
State of FL )
Cou nty of h__ _MT_]
On before me, personally appeared

, who proved to me on the basis of satisfactory ovirien ce to be the
personis) whose name is subscribed to the within instrument and acknowledged before me that he/she executed the foregoing
instrument in hisr'her authorized capacity, and that by his/her signatureis) on the instrument the person, or the entity u pon behalf
of which the person acted, executed the instrument

l certify under PENALTY UF PERJURY under the laws of the State of FL that the foregoing paragraph is true and correct. WiTNESS my
hand and official sea|.

 

Signature iSeal)
Print Name:
Commission expiration date f

._msrm

 

 

Personel|y Known ' Dfi Produced identification
Type of identification Prodl.lced

 

 

 

Servicor BY

if applicab|e: 4
|‘viortgagc E|er.tronic Registration Sy.stems, |nc. - i\|omir'iee for Servicer

 

7195869081 Si:fiEAMLiNEVZO?~ZS-ZOM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purposel
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i""`"` ocwen Loan servicing, LLc 1651 Warthington neari, ste leo

§ WWW_()CWEN,CC,M West Palm Beach, Fl. 33409

NWEN Helpr'ng Homeowr)ers is Wnnt We Do! m T°" FV"'Q‘ wool 745`2936
CAL|FORN|A ALL~PURPOSE

CERT|F|CATE OFAC}(NOWLEDGEMENT

State of Ca|ifornla

County of

 

On before me, _,
li-lere insert name and title of the officer)

Persona||v appeared

J

Who proved to me on the basis of satisfactory evidence to be the personis) Whose name[s] isfare subscribed to the within
instrument and acknowledged to me that he/she/thev executed the same in his/herftheir authorized capacity{les), end that by

his/herjthe|r signature(s) on the instrument the person(s}, or the entity upon behalf ofwhlch the personls} acted, executed this
instrumentb

l certify under PENALTY OF PERJURY under the laws of the State of Ca|ifornla that the foregoing paragraph ls true and correct.

WlTNESS my hand and official seal.

 

lNotarv Sea|)
Signature of Notary l-"ub|lc

Bv:

 

Date:

 

7195869081 $TREAMLINEVZU?QBQOM
`i"hls communication is from a debt collector attempting to collect a debt; any information obtained Wi|l be used for that purpose
However, if the debt is in active bankruptcy or has been discharged through bankruptcv, this communication is purely provided to
vou for informational purposes only with regard to our secured lien on the above referenced propei‘tv. lt is not intended as an
attempt to collect a debt from you personaliy.

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chen Loan Servicing, LLC 1661 Worthington noad, Ste 100
WWW.OCWEN,COM West Pa|m Bea:h, FL 33409
Heipr'ng Homeowners is iri/hot We Dol 'M TD\| FFEE= iBOOi 746-2935

 

BORROWER ACI(NOWLEDGMENT

State of iOWA
County of

 

This instrument was acknowledged before me on

 

 

 

 

 

Date
Bv
Name{s) of Person(s)
Signature of Notary Pubi|c
Tit|e for Ranl< for N|iiitary Personne|)
Stcrmp/Seoi
7195859081

$TREAMUNEi/ZW-ZB-ZUM
This communication is from a debt collector attempting to collect a debt; any information obtained will be used for that purpose

However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to

you for informational purposes only with regard to our secured lien on the above referenced property, it is not intended as an
attempt to collect a debt from you personally

 

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il OCWen Loan Servicing, LLC 1651 Worthington naad, gte 100
§ r - www.ocweu.com west Paim ees¢h, FL series
OOWEN' Heiplng Homeowriers is Whot We Dol m T°H F"ZE: [800} 746'2936

 

UN|FORNI FORM CERT|F|CATE OF ACKNOWLEDGMENT
Si”ATE OF NEW YOR|< )

COUNTY OF }

On the day of in the year , before me, the undersigned, personally appeared

l personally known to me or proved to me on the basis of satisfactory evidence to be
the individua|[s) whose name{s) is (are] subscribed to the within instrument and acknowledged to me that he/she/they executed

the same in his/her/the|r capacity(lesi, and that by his/her/their signaturels} on the lnstrument, the individua|(s), or the person on
behalf of which the individua|(s]i acted, executed the instrument

 

 

Notary Pubiic

7195859081 STREAMUNEi/BW-.ZQ-zfi;i¢i
This communication is from a debt collector‘ attempting to collect a debt,' any information obtained will be used`"for that purp ose.
However, if the debt is in active bankruptcy or has been discharged through bankruptcy, this communication is purely provided to
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attempt to collect a debt from you personally.

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